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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

      Plaintiff,

v.                                             CASE NO.: 1:05-CR-001-SPM

FARRAH MOISE,

     Defendants.
__________________________________/

     ORDER DISMISSING INDICTMENT AGAINST DEFENDANT MOISE

      THIS CAUSE comes before the Court upon the “Motion to Dismiss” (doc.

94) filed September 8, 2005, in which the Government requests that the

indictment as to defendant Moise be dismissed “in the interest of justice.” Having

reviewed the in camera written statement of reasons (doc. 105) offered by the

Government in support of the dismissal, the Court finds dismissal to be

appropriate. Pursuant to Federal Rule of Criminal Procedure 48(a), it is

      ORDERED AND ADJUDGED as follows:

      1.     The Motion to Dismiss (doc. 94) is granted.

      2.     The superseding indictment (doc. 44) is dismissed against
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             Defendant Moise.

       DONE AND ORDERED this seventh day of October, 2005.


                                  s/ Stephan P. Mickle
                                Stephan P. Mickle
                                United States District Judge

/pao
